It having been stipulated that decisions in the above entitled cases should depend upon the decision in Reclamation District No.70 v. John Birks (Sac. No. 1784), ante, p. 233, [113 P. 170], this day decided, and that such judgment of this court as might be made and given in the case of Reclamation District No. 70 v.John Birks (Sac. No. 1784), ante, p. 233, [113 P. 170], should also be given in the above entitled cases.
It is ordered as to the above entitled cases, and each of them, that the judgment and order appealed from be reversed.
Hearing in Bank of each of above entitled cases respectively denied.
Beatty, C.J., dissented from the respective orders denying a hearing in Bank of each of above entitled cases.
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